
668 S.E.2d 567 (2008)
STATE of North Carolina
v.
Jose Jesus Garcia LOPEZ.
No. 95PA08.
Supreme Court of North Carolina.
October 9, 2008.
Isaac T. Avery, III, Special Counsel, Rex Gore, District Attorney, for State of NC.
Nora Henry Hargrove, for Lopez.
Prior report: ___ N.C.App. ___, 655 S.E.2d 895.

ORDER
Upon consideration of the petition filed on the 3rd day of March 2008 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 9th day of October 2008."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
